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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                   Plaintiff,
                                            No. 19 Civ 3377(LAP)
-against-
                                                    ORDER
ALAN DERSHOWITZ,

                   Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

     Before the Court are four discovery motions:

(1) Dershowitz’s motion to compel (dkt. no. 297); (2) Giuffre’s

motion to compel (dkt. no. 373); (3) Dershowitz’s motion to

exceed ten depositions (dkt. no. 391); and (4) Dershowitz’s

motion to deem admitted certain requests for admissions (dkt.

no. 397).   Each of these motions have been extensively briefed,

and the Court considers them to be fully submitted.         This order

resolves many, but not all, of the parties’ myriad discovery

disputes.   As discussed below, the Court will hear from the

parties on the issues that remain at a teleconference scheduled

for February 22, 2022.

I.   Dershowitz’s motion to compel

     Dershowitz filed a motion to compel on May 4, 2021 (dkt.

nos. 297-301), Giuffre opposed on May 20, 2021 (dkt. nos. 309-

312), Dershowitz replied on May 27, 2021 (dkt. nos. 318-321),

Dershowitz submitted a supplemental filing on November 2, 2021


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(dkt. no 352), and Giuffre responded to the supplemental filing

on November 12, 2021 (dkt. nos. 359-360.)

      Counsel shall be prepared to discuss at the February 22

conference Dershowitz’s motion to compel privileged

communications between Giuffre and her attorneys based on a

purported “at issue” waiver of the attorney-client privilege.

II.   Giuffre’s motion to compel

      Giuffre filed a motion to compel on December 3, 2021 (dkt.

nos. 373-374), Dershowitz opposed on December 13, 2021 (dkt.

nos. 380-381), and Giuffre replied on December 15, 2021 (dkt.

nos. 384-385).

      Giuffre raises four issues, which are discussed in turn.

      1.   Documents Withheld on the Basis of Privilege

           a.    Common Interest Doctrine

      Counsel shall be prepared to discuss at the February 22

conference the issues surrounding Dershowitz’s assertion of the

common interest exception to waiver of privilege.

           b.    Harvard Email Account

      The motion to compel the production of otherwise privileged

communications on the basis that Dershowitz lacked an

expectation of privacy in his Harvard email account is denied.

Dershowitz enjoyed an expectation of privacy in using his

Harvard email account such that privilege may attach where the

requirements of privilege are otherwise met.         Harvard’s General

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Counsel has expressly acknowledged and agreed that Dershowitz

has a substantial interest in protecting confidential and

sensitive information in his emails, including those protected

by attorney-client privilege.     And Harvard’s Policy on Access to

Electronic Information makes clear that users have a strong

expectation of privacy in their use of Harvard’s email servers.

Accordingly, the motion to compel on the basis of Dershowitz’s

alleged lack of expectation of privacy in communications in his

Harvard email account is denied.

          c.   Lawyer Associates

    The motion to compel communications between Dershowitz and

his lawyer associates is granted in part.       Dershowitz has

asserted privilege over communications with dozens of individual

attorneys with whom the existence of an attorney-client

relationship is unclear.    As the parties are well aware, the

burden rests on the party asserting the attorney-client

privilege to demonstrate that the privilege applies.         Dershowitz

has agreed to produce the purportedly privileged communications

with three attorneys who have disclaimed the existence of any

attorney-client relationship with Dershowitz:        Kenneth Feinberg,

Jeannie Suk Gersen, and Richard H. Pildes.        Those communications

shall be produced.

    As to the withheld communications with the remaining

attorneys who have not disclaimed the existence of an attorney-

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client relationship, Plaintiff shall select five withheld

communications, which Dershowitz shall produce to the Court for

in camera review.     If necessary, counsel shall be prepared to

discuss at the February 22 conference the logistics for

selection and production of documents for in camera review.

          d.     Mediations

    The motion to compel communications on the ground of

mediation privilege relating to the mediation before David Stone

is granted on consent.     To the extent there are withheld

documents from the court-ordered mediation with Judge Jeff

Streitfeld, counsel shall be prepared to discuss those at the

February 22 conference.

          e.     Work Product

    Giuffre challenges Dershowitz’s decision to withhold on the

basis of the work-product privilege certain communications or

documents.     Giuffre shall select five communications or

documents, which Dershowitz shall produce to the Court for in

camera review.     If necessary, counsel shall be prepared to

discuss at the February 22 conference the logistics for

selection and production of documents for in camera review.




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    2.       Documents Withheld on the Basis of Relevance

             a.   Dershowitz v. Netflix and Boies v. Dershowitz
                  Discovery

    The motion to compel this discovery is granted.             The

discovery in Netflix and Boies are relevant because the

statements at issue in those cases are either the same as or

similar and highly relevant to the statements alleged here.               The

burden of production is minimal as the materials are in the

Defendant’s custody and control and thus should require little

more than forwarding the material to counsel.           Little to no

review is required given the substantial overlap in the cases

and the protective order in place in this action.            And fairness

does not weigh against compelling production.           Giuffre has been

compelled to produce material subject to protective order or

sealing order in Giuffre v. Maxwell.         Although Dershowitz points

out that the order compelling Giuffre to produce materials in

the Maxwell case was tailored, that does not weigh against full

production here because the cases did not share the same level

of similarity.      As discussed, the Netflix and Boies cases

involve the same or very similar statements to those alleged

here.    Accordingly, the motion to compel production of the

discovery in the Netflix and Boies cases is granted.




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            b.   Edwards v. Dershowitz Settlement Amount

    The motion to compel production of the settlement amount in

Edwards v. Dershowitz is granted.      Dershowitz appears to concede

that settlements of related disputes are relevant and

discoverable as he sought and received settlement agreements,

including settlement amounts, from Giuffre regarding related

disputes.    (See Dkt. No. 373 at 12.)    The Court assumes those

agreements, including the settlement amounts, have been produced

by Plaintiff.    Moreover, Dershowitz made the statements at issue

in this case after settling the Edwards case.        Accordingly, the

settlement is relevant to Dershowitz’s state of mind.         And

production will impose little to no burden on Dershowitz as the

document(s) have been collected and are within Dershowitz’s

custody or control.    Dershowitz shall produce the document(s)

containing the Edwards settlement amount.

            c.   Tax Returns

    The motion to compel the production of Dershowitz’s tax

returns is granted.    The returns are relevant to show economic

loss, and there is a compelling need because the information is

not otherwise obtainable.      The burden of producing tax returns

is minimal, and fairness weighs in favor of production as

Plaintiff has already produced her tax returns, presumably for

the same purpose.     Under the circumstances, what’s sauce for the

goose is sauce for the gander.

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            d.    Harvard Email Search Terms

    The motion to compel the production of responsive documents

and communications contained in Dershowitz’s Harvard email

account that hit on the eight search terms proposed by Giuffre

is granted.      These search terms are reasonable, the burden is

not excessive, and there is no unfairness.        Dershowitz shall

direct Harvard to run these terms and review and produce or log

the documents returned by the search terms.

    3.      Incomplete Interrogatories

    The motion to compel Dershowitz to provide complete

responses to the interrogatories regarding recordings is

granted.    Dershowitz shall respond fully to interrogatories 4

and 7, including answers as to whether the recordings are

originals or reproductions and whether he edited, enhanced, or

deleted portions of the original recordings.

    4.      Unreasonably Early Notices of Depositions

    The Court declines to consider the parties’ dispute as to

the timing of depositions until discovery is substantially

complete.     As the disputes discussed in this order reveal,

discovery is not substantially complete.       The sooner the parties

produce the relevant discovery and resolve their privilege

objections, the sooner depositions can take place.




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III. Dershowitz’s motion to exceed ten depositions

      Dershowitz moved to exceed ten depositions on January 4,

2022 (dkt. no. 391), Giuffre opposed on January 11, 2022 (dkt.

nos. 393-394), and Dershowitz replied on January 12, 2022 (dkt.

no. 395).

      Counsel shall be prepared to discuss this motion at the

February 22 conference.

IV.   Dershowitz’s motion to deem admitted certain unanswered
      requests for admissions

      Dershowitz moved to deem admitted certain requests for

admissions on January 14, 2022 (dkt. no. 397), Giuffre opposed

on January 20, 2022 (dkt. no. 398), and Dershowitz replied on

January 21, 2022 (dkt. no. 399.)

      The motion is granted in part.         Plaintiff has put at issue

her reputation as a sex trafficking victim and advocate, and the

requests for admissions sought regarding the testimony of

Ms. Andriano are clearly relevant to that reputation.

Accordingly, Plaintiff shall respond to these requests for

admission.   As Dershowitz notes, the Court is not being asked

to, and does not, rule on whether this evidence ultimately will

be admissible at trial.     Sufficient unto the day is the evil

thereof.

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    For the reasons stated herein, Giuffre’s motion to compel

(dkt. nos. 373-374) is granted in part, denied in part and

reserved in part; and Dershowitz’s motion to deem as admitted

certain requests for admission (dkt. no. 397) is granted in

part.    Decision on Dershowitz’s motion to compel the production

of attorney-client communications (dkt. no. 297) and his motion

to exceed ten depositions (dkt. no. 391) is reserved pending the

February 22 conference.

    The parties shall appear for a telephonic conference on

Tuesday February 22, 2022 at 11:00 a.m., to discuss the disputes

that remain, namely:

          •   Dershowitz’s motion to compel the production of
              attorney-client privileged communications due to a
              purported “at issue” waiver of privilege. (See supra
              Part I.)

          •   Giuffre’s motion to compel the production of documents
              subject to Dershowitz’s assertion of the common
              interest doctrine. (See supra Part II.1.a.)

          •   If necessary, the logistics of selection and
              production of documents for in camera review (See
              supra Parts II.1.c and II.1.e.)

          •   Whether disputes remain over Dershowitz’s assertion of
              the mediation privilege. (See supra Part II.1.d.)

          •   Timing of depositions.      (See supra Part II.4.)

          •   Dershowitz’s motion to exceed ten depositions.         (See
              supra Part III.)


The information to access the teleconference is as follows:

Dial-in:      (877) 402-9753; Access code:      6545179.
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    The Court is in receipt of Giuffre’s letter dated February

10, 2022 seeking to compel the production of “document

productions in Dershowitz v. CNN that contain Documents that

[Dershowitz] intends[s] to use to support [his] allegations of

injury in that action, irrespective of whether [he has] produced

the Documents in this Action.”      (See Dkt. No. 400 at 1.)

Defendant shall respond no later than Wednesday February 16,

2022 at 5:00 p.m., and Plaintiff shall reply no later than

Friday February 18, 2022 at 5:00 p.m.       If necessary, the parties

shall be prepared to discuss this motion at the February 22

conference.

SO ORDERED.

Dated:    February 14, 2022
          New York, New York


                            __________________________________
                            LORETTA A. PRESKA
                            Senior United States District Judge




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